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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No.

 

CHARLES L. HICKEY, SR.,
SUSAN HICKEY, and
THE ESTATE OF JENNIFER MAKEPEACE,

Plaintiffs,
V.
THE ESTATE OF JEFF MAKEPEACE,
for JEFF MAKEPEACE individually,
and in his official capacity as President and Sole Shareholder of Lind’s Plumbing and

Heating, Inc., a Colorado corporation now dissolved,

Defendant.

 

COMPLAINT

 

TO THE HONORABLE JUSDE OF SAID COURT:

COME NOW the Plaintiffs, by and through their counsel, Denise L. Kaup of Saathoff Law
Office, P.C., and for their Complaint in Wrongful Death state and allege as follows:

Parties, Jurisdiction and Venue

1. Plaintiff Charles L. Hickey, Sr. is a natural person, and citizen and resident of
Fontana, California.

2. Plaintiff Susan Hickey. is a natural person, and citizen and resident of Fontana,
California.

2. At all times pertinent hereto, Plaintiffs Charles L. Hickey, Sr., and Susan Hickey
were husband and wife, and the natural parents of Jennifer Makepeace who
died September 15, 2017.

4. Plaintiff Estate of Jennifer Makepeace, is a Colorado Estate, filed in the District
Court of Larimer County, Colorado, at 17 PR 30571, with Charles L. Hickey, Jr.

as Personal Representative, a citizen and resident of Denver, Colorado.

 
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Defendant Estate of Jeff Makepeace, is a Colorado Estate, filed in the District
Court of Larimer County, Colorado, at 17 PR 30570, with Charles L. Hickey, Jr.
as Personal Representative, a citizen and resident of Denver, Colorado.

Jeff Makepeace died September 15, 2017, a domiciliary of Larimer County,
Colorado.

Jeff Makepeace was the president and sole shareholder of Lind’s Plumbing and
Heating, Inc., a Colorado corporation active at the time of the wrongful deaths
claimed herein, but now dissolved.

This matter arises as a result of the deaths of Jennifer Makepeace, and her
children, Addison Makepeace and Benjamin Makepeace, who all died
September 15, 2017, as the result of a crash of a private airplane owned by the
now dissolved Lind’s Plumbing and Heating, Inc., and piloted by Jeff
Makepeace, as sole shareholder of Lind’s Plumbing and Heating, Inc.

The situs of the crash of the private airplane giving rise to this action was
Garfield County, Colorado, located within the jurisdiction of the United States
District Court for the District of Colorado.

This Court has jurisdiction over the parties pursuant to 28 USCS §1332
because the controversy exceeds the sum or value of $75,000.00, exclusive of
interest and costs, and because the parties are/were citizens of different States.
Venue is proper in the pursuant to 28 USCS §1391 in that the crash of the
private airplane giving rise to the claims herein occurred within the judicial
district for the United States District Court for the District of Colorado.

General Allegations

All paragraphs previously set forth herein are incorporated by reference.

On Friday, September 15, 2017, Defendant Jeff Makepeace piloted the private
airplane identified as a 2007 Cirrus SR 22, N462SR, on a flight from Fort
Collins, Colorado, slated for Moab, Utah.

Defendant Jeff Makepeace was traveling for the purpose of conferring with a
consultant regarding the business of Lind’s Plumbing and Heating, Inc.

 
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Defendant Jeff Makepeace had passengers comprising his immediate family:
Spouse, Jennifer Makepeace, and children Addison Makepeace and Benjamin
Makepeace.

Jennifer Makepeace, Addison Makepeace and Benjamin Makepeace were
travelling for personal purposes, and not for the business of Lind’s Plumbing
and Heating, Inc.

Jeff Makepeace was not instrument rated.

The flight path of the airplane encountered heavy clouds which impaired the
visual acuity of Jeff Makepeace.

Pilotal error on the part of Jeff Makepeace who could not see though the clouds,
and was not rated to fly by instruments alone, caused the private airplane to
crash into the mountainside in Garfield County at approximately 8:15 p.m.
The crash of the private airplane caused the airplane to break into pieces and
catch fire, ejecting and killing everyone on board.

First Cause of Action — Wrongful Death

All paragraphs previously set forth herein are incorporated by reference.

Jeff Makepeace breached the duty of care which a reasonable pilot should
exercise toward the passengers of the airplane

As a direct and proximate result of Jeff Makpeace’s negligent operation of a
private airplane, Jeff Makepeace caused the crash that killed Jennifer
Makepeace, Addison Makepeace and Benjamin Makepeace.

Jeff Makepeace operated the private airplane heedlessly, recklessly, and
without regard to the consequences or the safety of others.

Jeff Makepeace’s negligent operation of the private airplane directly and
proximately caused the crash, and the deaths, damages, and losses set forth
below.

As a result of the crash of the private airplane, the Plaintiffs’ economic damages
for funeral expenses, and other amounts Jennifer Makepeace might
reasonably have expected to receive for herself and from her children had

 
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Jennifer Makepeace, Addison Makepeace and/or Benjamin Makepeace
survived the crash of the private airplane.

Jennifer Makepeace was forty-five years of age, in excellent health, with a long
life-expectancy and the ability to earn money, and to care for, nurture and enjoy
the lives of Addison Makepeace and Benjamin Makepeace, had they survived.
Addison Makepeace was ten years of age, in excellent health, with a long life-
expectancy and the ability to work in the family business to help provide for the
future of Jennifer Makepeace.

Benjamin Makepeace was ten years of age, in excellent health, with a long life-
expectancy and the ability to work in the family business to help provide for the
future of Jennifer Makepeace.

Neither Plaintiffs, nor Jennifer Makepeace, Addison Makepeace or Benjamin
Makepeace were comparatively or contributorily negligent in the crash of the
private airplane.

Plaintiffs have the statutory right to make a wrongful death claim for Jennifer
Makepeace, who was not survived by spouse or children.

Plaintiffs have the statutory right on behalf of Jennifer Makepeace to make
wrongful death claims for Addison Makepeace and Benjamin Makepeace.
Plaintiffs have in their own right suffered noneconomic losses for past and
future grief, loss of companionship, impairment of the quality of life,
inconvenience, and emotional stress a plaintiff, and all those a plaintiff may

represent, has experienced and will experience.

Second Cause of Action — Negligence Per Se

All paragraphs previously set forth herein are incorporated by reference.

Jeff Makepeace is negligent per se for operating a private airplane without
visual acuity due to dense cloud cover, and without instrument rating.

As a direct and proximate result of Defendant Jeff Makepeace’s negligence,
Plaintiffs sustained the injuries, and damages, and losses as set forth above.

 
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Prayer for Relief
WHEREFORE, Plaintiffs request that judgment be entered in favor of the Plaintiffs and

against the Defendant, in an amount to fairly compensate the Plaintiffs for the injuries as
set forth above, court costs, expert witness fees, statutory interest from the date of the
incident when the causes of action set forth above accrued, or as otherwise permitted
under Colorado law, and for such other and further relief as this Court deems just and
proper:

A. An amount which will reasonably compensate the Plaintiffs for any past, present
and future economic losses;

B. An amount which will reasonably compensate the Plaintiffs for funeral costs:

C. An amount which will reasonably compensate the Plaintiffs for any past and future
grief, loss of companionship, impairment of the quality of life, inconvenience, and
emotional stress; and

D. Interest as provided by Statute from the date of the crash of the airplane which
forms the basis of the Complaint to the date of judgment, and for costs and fees incurred
in the prosecution of this matter.

Respectfully submitted this 12‘ day of September, 2019,

s/ Denise L. Kaup
Denise L. Kaup # Colorado 20969

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